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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust                  Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                                    ORDER
Residential Funding Company, LLC v. DB
Structured Products, Inc. and MortgageIT,
Inc., No. 14-cv-143


       Pursuant to the parties’ Stipulation of Dismissal with Prejudice [Doc. No. 1628],

IT IS HEREBY ORDERED that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), case No. 14-cv-143 (SRN/HB) is hereby dismissed with prejudice and

without attorneys’ fees, costs and expenses to any of the parties to this action.


DATED: June 24, 2016
                                           s/Susan Richard Nelson
                                           SUSAN RICHARD NELSON
                                           United States District Judge
